            Case 1:17-cv-00756-LY Document 47 Filed 08/21/18 Page 1 of 32



                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS

JUNIOR VOLLEYBALL ASSOCIATION OF                   )
AUSTIN d/b/a/ AUSTIN SPORTS CENTER,                )
and AUSTIN SPORTS CENTER, LLC,                     )
                                                   )
                              Plaintiffs,          )
                                                   )
v.                                                 )         Case No. 1:17-cv-00756-LY
                                                   )
SUMMIT HOSTING LLC, fka                            )
SOFTWARE LINK HOSTING, LLC,                        )
fka SOFTWARE LINK, INC.,                           )
                                                   )
                                                   )
                              Defendant.           )

                        SUMMIT HOSTING LLC’S ANSWER TO
                      PLAINTIFFS’ FIRST AMENDED COMPLAINT

       COMES NOW Defendant Summit Hosting LLC, on behalf of itself, Software Link

Hosting, LLC, and Software Link Hosting, Inc. (“Summit Hosting” or “Defendants”), by

counsel, and hereby answers Plaintiffs’ Junior Volleyball Association of Austin d/b/a Austin

Sports Center and Austin Sports Center, LLC’s (collectively “Austin Sports Center” or “ASC”)

First Amended Complaint (“FAC”).

                                            I.   Parties

       1.      Plaintiff Austin Junior Volleyball d/b/a Austin Sports Center is a Texas non-profit

organization with its principal place of business in Travis County, Texas.

       ANSWER:         Summit Hosting is without information sufficient to form a belief as to the

truth or falsity of the allegations in paragraph 1 of the FAC, and on that basis denies them.


       2.      Plaintiff Austin Sport Center is a Texas limited liability company with its

principal place of business in Travis County, Texas.
            Case 1:17-cv-00756-LY Document 47 Filed 08/21/18 Page 2 of 32



       ANSWER:         Summit Hosting is without information sufficient to form a belief as to the

truth or falsity of the allegations of paragraph 2 of the FAC, and on that basis denies them.


       3.      Software Link was a Georgia corporation at the time it entered into the contract at

issue, which subsequently converted into a Georgia limited liability company, and conducts

business in Texas. Software Link changed its name to Summit Hosting LLC on November 3,

2016. Software Link has appeared herein.

       ANSWER:         Summit Hosting admits that, at the time Software Link, Inc. entered into

the contract with ASC, Software Link, Inc. was a Georgia corporation. Summit Hosting denies

the remaining allegations of paragraph 3 of the FAC.


                                  II. Jurisdiction and Venue

       4.      This Court has jurisdiction pursuant to 28 U.S.C. § 1332(a)(1), in that this action

is between citizens of different States, and the amount in controversy exceeds $75,000.

       ANSWER:         No response is required to the allegations of paragraph 4 of the FAC,

which consist of conclusions of law. To the extent any further response is required, Summit

Hosting does not contest the jurisdiction of this Court. Answering further, Summit Hosting

denies that ASC is entitled to any damages.


       5.      Venue is proper in this Court, in that Software Link’s conduct includes soliciting

Austin Sports Center’s business in this District, and because Software Link removed this case

from the State district court in Travis County, Texas, within this District.

       ANSWER:         No response is required to the allegations of paragraph 5 of the FAC,

which consist of conclusions of law. To the extent any further response is required, Summit




                                                  2
             Case 1:17-cv-00756-LY Document 47 Filed 08/21/18 Page 3 of 32



Hosting does not contest the jurisdiction of this Court. Answering further, Summit Hosting

denies that ASC is entitled to any damages.


                                      III. Nature of Claim

        6.      Software Link entered into a contract with Austin Sports Center dated February 3,

2012, under which Software Link was to serve as a cloud hosting site for “all data and

information relating to the business” of Austin Sports Center. Software Link agreed to “protect

and safeguard” Austin Sports Center’s data and information, and that such efforts would be “no

less than what Software Link uses to safeguard its own confidential information.” It agreed that it

would “assume responsibility” for performing, managing, and verifying “the backup and restore

processes for the Data,” and would maintain a “back-up tape or electronic copy” of the data. It

agreed that it would perform multiple daily backups to “insure data is secure,” as well as “7/24

Server Monitoring” of the data. In support of those statements, Software Link represented

during negotiations that its data center had multiple servers backing up data and that it kept 30

days of backup records for client data on them. In the event any data was lost, Software Link

agreed that it “will recover the production database” and that “Software Link will restore data

from back-up tapes as requested by Client.”

        ANSWER:         Summit Hosting admits that Software Link, Inc. entered into a written

agreement dated February 3, 2012 with ASC for the provision of cloud hosting services.

Answering further, Summit Hosting states that the written agreement speaks for itself. Summit

Hosting denies the remaining allegations in paragraph 6 of the FAC.


        7.      Software Link subsequently lost all of the Austin Sports Center data that had been

entrusted to it, and in the course of its failed attempt to recover the data, admitted to the falsity of

its prior oral and written representations regarding its services and the levels of protection is had

                                                   3
            Case 1:17-cv-00756-LY Document 47 Filed 08/21/18 Page 4 of 32



in place. Austin Sports Center asserts causes of action against it for breach of contract, fraud in

the inducement, and violations of the Texas Deceptive Trade Practices Act (“DTPA”).

       ANSWER:         Summit Hosting admits that ASC’s data was lost, but Summit Hosting

denies it was responsible for the data loss. Summit Hosting admits that the FAC purports to

assert causes of action for breach of contract, fraud in the inducement, and violations of the

Texas Deceptive Trade Practices Act (“DTPA”). Answering further, Summit Hosting states that

this Court has dismissed the FAC’s fraud claims and at least those DTPA claims that depend on

allegations of knowing falsity. Summit Hosting denies the remainder of the allegations in

paragraph 7 of the FAC.


                                            IV. Facts

       8.      Austin Sports Center’s business. Austin Sports Center specializes in all aspects of

youth volleyball, including Club teams, camps, clinics, tournaments, rental facilities, and

merchandise. Each year, Austin Sports Center employs approximately 200 full-time and part-

time staff members, and provides services to over 50,000 athletes, coaches, and parents through

local training programs, team memberships, and national competition venues. It hosts the largest

national qualifier for youth volleyball in the United States, with approximately 1,800

participating teams and over 80,000 spectators. Over 330 of its student athletes have continued

their volleyball careers in college. Austin Sports Center currently has three sports facilities in the

Austin area, and is in the midst of expanding to a fourth facility.

       ANSWER:         Summit Hosting is without information sufficient to form a belief as to the

truth or falsity of the allegations in paragraph 8 of the FAC, and on that basis denies them.


       9.      Negotiations with Software Link. In January 2012, Software Link and Austin

Sports Center began negotiating for Software Link to serve as a cloud data hosting site for Austin

                                                  4
          Case 1:17-cv-00756-LY Document 47 Filed 08/21/18 Page 5 of 32



Sports Center’s valuable data, including Austin Sports Center’s financial and QuickBooks data.

That data is fundamental to Austin Sports Center’s ability to operate as a business.

       ANSWER:         Summit Hosting admits that it entered discussions with ASC to provide

cloud hosting services in or about January 2012. Summit Hosting is without information

sufficient to form a belief as to the truth or falsity of the remaining allegations in paragraph 9 of

the FAC, and on that basis denies them.


       10.     On January 12, 2012, Austin Sports Center’s Tucker Koch spoke by telephone

with Software Link’s president and owner, Stanley Kania, regarding the services that Software

Link would offer. Kania discussed that Software Link performed multiple daily backups to

insure that data is secure — the same representation that appears in the contract the parties

ultimately signed — and explained that Software Link’s data center had multiple servers backing

up data, so that Software Link had the ability to pull history if needed. Kania represented that

Software Link kept 30 days of backup records for client data.

       ANSWER:         Summit Hosting denies the allegations of paragraph 10 of the FAC.


       11.     On January 18, 2012, Koch and another Austin Sports Center employee, Scott

Clouse, had a telephone conference with Software Link’s Senior Network Engineer, Brian

Wilder, and again discussed Software Link’s backup process. Wilder represented to Koch and

Clouse that Software Link had multiple servers at Software Link’s offsite data center which

would back up Austin Sports Center’s data in the event that the primary server failed or was

otherwise destroyed.

       ANSWER:         Summit Hosting lacks information sufficient to form a belief as to the

truth or falsity of the allegations in paragraph 11 of the FAC, and on that basis denies them.



                                                 5
            Case 1:17-cv-00756-LY Document 47 Filed 08/21/18 Page 6 of 32



         12.      Entry into Agreement, on form supplied by Software Link. Relying on these

representations, Austin Sports Center entered into a contract with Software Link dated February

3, 2012 (the “Agreement”), for Software Link to host Austin Sport Center’s data for a fee of

$1,600 per month.1 In November 2015, the Parties agreed to an amended monthly fee of $775

per month.

         ANSWER:           Summit Hosting admits that Software Link, Inc. and ASC entered into a

written agreement for hosting services, and that what purports to be a redacted copy of the

Agreement is attached to the FAC as Exhibit A. Summit Hosting further admits that its fee for its

services initially was $1,600 per month and was later reduced to $775 per month. Summit

Hosting denies the remaining allegations of paragraph 12 of the FAC.


         13.      Except for filling in blanks for date, monthly price, signatures and initials, and

client contact and credit card information, the form of the Agreement and all of its substantive

terms were drafted entirely by Software Link, including the contractual representations about the

scope of the services that Software Link represented it would perform, and the contractual

representations about the safeguards that Software Link allegedly had in place and would

perform to “insure data is secure.” Any ambiguity in the language and in any of the substantive

terms of the Agreement consequently should be construed against the drafter, Software Link. 2




1
  An enlarged copy of the one-page Agreement is attached as Exhibit A (with a redaction to cover a now expired
credit card number on the contract).
2
  Longoria v. Delgado, 2013 WL 4048546 *5 (W.D. Tex. Aug. 9, 2013) (Lane, J.) (“If the language of the contract
is subject to two or more reasonable interpretations or meanings, it is ambiguous. Under Texas law, a contract may
be construed against its drafter after application of ordinary rules of construction leave reasonable doubt as to its
interpretation.”) (citations omitted); Ramirez v. United of Omaha Life Ins. Co., 872 F.3d 721, 727 (5th Cir. 2017) (“If
the policy language is ambiguous, then the court should construe the policy against the drafter, United, under the
rule of contra proferentem.”); Service Steel Warehouse Co., L.P., v. McDonnel Group, LLC, 690 Fed. Appx. 869 (5th
Cir. 2017) (per curiam) (“We agree with the district court that the bond language is ambiguous and should be
construed against the drafters, Defendants-Appellees.”).

                                                          6
              Case 1:17-cv-00756-LY Document 47 Filed 08/21/18 Page 7 of 32



           ANSWER:           Summit Hosting admits that Software Link, Inc. drafted the Agreement

(which speaks for itself). No response is required to the remaining allegations in paragraph 13 of

the FAC, which consist merely of conclusions of law and lawyer argument, including footnote 2

(which purports to be citations to and quotations from various cases). To the extent any further

response is required, Summit Hosting denies the remaining allegations of paragraph 13 of the

FAC).


           14.      Software Link’s contractual obligations. The Agreement makes clear in multiple

places that Software Link itself (not some third party) was responsible for the contractual

services and safeguards.

           ANSWER:           Summit Hosting states that the Agreement speaks for itself. To the extent

any further response is required, Summit Hosting denies the allegations in paragraph 14 of the

FAC.


           15.      The “Data” for which Software Link assumed responsibility is broadly defined in

the Agreement to include “all data and information relating to the business of Client and its

affiliates provided to, generated, collected, processed or stored by Software Link in connection

with the Services, including any data contained in reports required to be provided by Software

Link to Client under this Agreement.”3                   Software Link acknowledged that the Data is

confidential and proprietary to Austin Sports Center, and further represented in writing that

Software Link’s efforts to “protect and safeguard” Austin Sports Center’s Data would be “no less

than what Software Link uses to safeguard its own confidential information.” The Agreement

elaborated on the multiple services and safeguards for which Software Link took responsibility:



3
    The use of emphasis in quotations herein is “emphasis added” unless otherwise specified.

                                                           7
         Case 1:17-cv-00756-LY Document 47 Filed 08/21/18 Page 8 of 32



      “Software Link will assume responsibility for performing, managing, and verifying of the
       backup and restore processes for the Data.”

      “A back-up tape or electronic copy of Data will be maintained offsite or in Software
       Link’s disaster recovery site as determined by Software Link.”

      “If Data is lost from either system outage or application error, Software Link will recover
       the production database to a specific point in time, based on the most recent available
       backup.”

      “In addition, Software Link will restore data from back-up tapes as requested by Client.”

      “Services Included ... Multiple daily backups to insure data is secure.”

      “Services Included ... 7/24 Server Monitoring.”

      “Services Included ... 7/24 access to your applications via the internet.”

       ANSWER:        Summit Hosting states that the Agreement speaks for itself. Summit

Hosting denies the remaining allegations in paragraph 15 of the FAC.


       16.    Austin Sports Center reasonably relied on Software Link’s multiple oral and

written representations in entering into the Agreement and entrusting its Data to Software Link,

including its representation that backup copies of Austin Sports Center’s Data were being

maintained by Software Link, and that the supposed backups provided an extra layer of security

and protection for Austin Sports Center in addition to Software Link’s primary server.

       ANSWER:        Summit Hosting states that the Agreement speaks for itself. Summit

Hosting denies the remaining allegations in paragraph 16 of the FAC.


       17.    Software Link’s renewed assurances. Software Link’s Senior Network Engineer,

Brian Wilder, traveled to Austin between September 9-11, 2012, at Austin Sports Center’s

expense, to collect Austin Sports Center’s Data, and to confirm Austin Sports Center’s internal

network and IT Process and make sure that all of Austin Sports Center’s networks were secure.

Wilder toured all of Austin Sports Center’s facilities, and reviewed its IT/network setup. In

                                                 8
          Case 1:17-cv-00756-LY Document 47 Filed 08/21/18 Page 9 of 32



conversations with Koch and Clouse during the visit, Wilder represented that Austin Sports

Center did not need to put an in-house server onsite because Software Link “provided multiple

backs ups” at its data center.

       ANSWER:         Summit Hosting admits that Mr. Wilder visited ASC’s facilities in or

about September 2012, and that Mr. Wilder told ASC that ASC did not need to maintain its own

in-house sever. Summit Hosting denies the remaining allegations in paragraph 17 of the FAC.


       18.     Software Link’s destruction of Austin Sports Center’s Data. In August 2016,

Austin Sports Center began receiving a series of e-mails from Software Link related to

maintenance updates. From August 4, 2016 to September 28, 2016, Austin Sports Center

received a total of five maintenance update e-mails from Software Link. Never once in this

entire process of software updates did Software Link alert Austin Sports Center that its Data

might be at risk, or that Austin Sports Center should procure additional backup tapes for its Data,

or that Software Link’s representations that it had a secure backup system in place were false.

       ANSWER:         Summit Hosting admits that Software Link, Inc. sent emails to ASC

regarding maintenance updates. Summit Hosting denies that it had any basis or duty to “alert”

ASC that it “might be at risk,” or that ASC “should procure additional backup tapes for its Data.”

Summit Hosting denies the remaining allegations in paragraph 18 of the FAC.


       19.     On October 3, 2016, Austin Sports Center attempted to retrieve its Data from the

server, and discovered that all of its accounting software files and d:/ driver were missing. When

Austin Sports Center attempted to access its QuickBooks file, it received a “Warning” message

stating, “The company file you selected could not be found”:




                                                9
         Case 1:17-cv-00756-LY Document 47 Filed 08/21/18 Page 10 of 32




Austin Sports Center’s Lindsay Dunn submitted an online ticket on October 3, 2016, reporting

the missing information issue to Software Link, but received back an automated reply message.

By the following day, Tucker Koch left multiple messages with Software Link, and also called

the cell phone for Software Link’s Senior Network Engineer, Brian Wilder, but could not get any

answer regarding the missing Data.

       ANSWER:         Summit Hosting is without information sufficient to form a belief as to the

truth or falsity of the allegations of paragraph 19 of the FAC, and on that basis denies them.


       20.     After Austin Sports Center made several attempts to contact Software Link

through ticketed support systems and direct e-mails to Brian Wilder, a network engineer for

Software Link, Brenda Cornelison, contacted Tucker Koch with Austin Sports Center on October

4, 2016, and stated that Software Link had had issues with an update, but that Software Link had

copies of all of Austin Sports Center’s Data. Cornelison stated that Data from September 30 or

October 1, 2016 would be restored within the next 24 hours.

       ANSWER:         Summit Hosting is without information sufficient to form a belief as to the

truth or falsity of the allegations of paragraph 20 of the FAC, and on that basis denies them.




                                                10
            Case 1:17-cv-00756-LY Document 47 Filed 08/21/18 Page 11 of 32



        21.      The Data was not restored, however, and Austin Sports Center continued to get

computer messages that its Data was “not accessible” and that it was accessing an “invalid

address”:




On October 5, 2016, Koch e-mailed Wilder, “We are still missing our D drive on the

environment. This is now the 3rd day of us not accessing our financials. … Our employees need

to get paid and quickbooks is our only way to make this happen.”

        ANSWER:           Summit Hosting admits that ASC’s data was lost. Summit Hosting denies

that it was responsible for the data loss. Summit Hosting is without sufficient information to

form a belief as to the truth or falsity of the remaining allegations in paragraph 21 of the FAC,

and on that basis denies them.


        22.      On October 6, 2016, Software Links’ Brian Wilder spoke with Austin Sports

Center’s Tucker Koch and Arturo Castellanos about the missing Data, and advised that Austin

Sports Center’s entire virtual file store had been corrupted. Despite the representation in the

Agreement that Software Link provides “7/24 Server Monitoring,” Wilder stated that Austin

Sports Center’s Data was corrupted on September 18, 2016, but went unnoticed by Software

Link until September 30, 2017 (13 days later).4 Despite Software Link’s prior representation that


4
  Software Link made no effort to disclose the corruption issue from Austin Sports Center after Software Link
discovered the Data loss on September 30, 2016. When Austin Sports Center discovered that its Data was missing
on October 3, 2016 and submitted a ticket reporting the issue to Software Link, Software Link by its own admission

                                                       11
          Case 1:17-cv-00756-LY Document 47 Filed 08/21/18 Page 12 of 32



it kept 30 days of record backups for clients and that it maintained an independent backup site to

the primary server, Wilder admitted that Software Link had no uncorrupted backups of Austin

Sports Center’s Data, and attributed that to a company policy to keep only 15 days of backups.5

Wilder further stated that Software Link was opening up a negligence lawsuit against its software

installer. Despite Software Link’s multiple representations regarding its own internal backups

and multiple servers backing up data, and its contractual obligation not to disclose any Data to

third parties without Austin Sports Center’s “prior written consent,” Wilder further stated that

Software Link was waiting on a backup recovery file from a vendor, in hopes of restoring the

Data.

        ANSWER:           Summit Hosting admits that ASC’s data was lost. Summit Hosting denies

that it was responsible for the data loss. Summit Hosting further denies that it made any

misrepresentations or false statements to ASC, including without limitation any statements

concerning keeping “30 days of backups.” Summit Hosting further denies the allegations

contained in footnotes 4 and 5 of the FAC. Answering further, Summit Hosting states that it

acted at all times appropriately and in a commercially reasonable and ethical manner, and that

the Agreement speaks for itself. Summit Hosting is without sufficient information to form a

belief as to the truth or falsity of the remaining allegations in paragraph 22 of the FAC, and on

that basis denies them.


had already known of the problem for three days. Even after Austin Sports Center reported the problem, Software
Link ignored multiple e-mails and telephone calls that Austin Sports Center placed to Software Link regarding the
destroyed Data.
5
  During the contract negotiations, Software Link represented it kept 30 days of backups. Since Software Link
indicated it discovered the corruption on September 30, 2017, 13 days after the data became corrupted on September
18, it should have had at least 17 days of uncorrupted backup copies based on its representation during contract
negotiations that it kept 30 days of backups.

  Its subsequent statement that it kept only 15 days of backups also appears to be false. On September 30, 2016,
when Software Link finally noticed that the Data had been corrupted on September 18, it should have at least two
uncorrupted backup copies (predating September 18) based on the supposed 15-day retention. Instead it had none.

                                                       12
         Case 1:17-cv-00756-LY Document 47 Filed 08/21/18 Page 13 of 32



        23.    On October 7, 2016, Wilder e-mailed multiple personnel for Austin Sports Center,

stating “Your server is back online.” The Data, however, was still missing. Austin Sports Center

thus continued to be unable to process payroll or access its financial information. Over the next

several days, Software Link continued to give false assurances that it could recover the Data.

        ANSWER:        Summit Hosting admits that ASC’s data was lost. Summit Hosting denies

that it was responsible for the data loss. Summit Hosting further denies that it “continued to give

false assurances that it could recover the Data.” Summit Hosting is without sufficient

information to form a belief as to the truth or falsity of the remaining allegations in paragraph 23

of the FAC, and on that basis denies them.


        24.    Contrary to these assurances, on October 14, 2016, Wilder advised Koch, “It

look[s] like I am not going to be able to recover any files or data.” Contrary to Software Link’s

representation that it did “7/24 Server Monitoring,” that it did multiple daily backups “to insure

data is secure,” that it had multiple servers backing up data with 30 days of backups, and that its

services included responsibility for “verifying of the backup” and “restore processes,” Wilder

wrote Koch in November 2016: “We do keep 15 Days of backups but we were backing up

corrupted data, did not even know it,” and that it did only a “spot check” in the backup software.

        ANSWER:        Summit Hosting admits that ASC’s data was lost. Summit Hosting denies

that it was responsible for the data loss. Summit Hosting denies it ever represented that it keeps

“30 days of backups.” Summit Hosting is without sufficient information to form a belief as to the

truth or falsity of the remaining allegations in paragraph 24 of the FAC, and on that basis denies

them.


        25.    Software Link, not a third party, is responsible for the Data loss.          At the

November 21, 2017 hearing before this Court, Software Link stated that the loss of Austin Sports

                                                13
           Case 1:17-cv-00756-LY Document 47 Filed 08/21/18 Page 14 of 32



Center’s Data was not caused by Software Link’s malfeasance or its “sole” gross negligence, so

as to fall outside of the limited contractual disclaimer of liability, 6 but instead was caused by the

acts or omissions of an unnamed subcontractor of Software Link. In light of that argument, this

Court asked the parties to research and address whether a subcontractor to whom Software Link

delegated contractual duties would be deemed an agent of Software Link, such that the agent’s

actions would be attributed as the acts of Software Link as principal.

         ANSWER:           Summit Hosting admits the allegations in the text of paragraph 25 of the

FAC, but denies the introductory header to paragraph 25; i.e. Summit Hosting denies it is

responsible for the data loss. With respect to footnote 6 of the FAC, Summit Hosting states that

the Agreement speaks for itself.


         26.      In its amended disclosures, Software Link appears to admit that there was no

subcontractor after all, and instead argues that the software which Software Link uses in its

business caused the Data loss.7 Regardless of how Software Link parses its argument, however,

the acts or omissions of an agent are “indistinguishable” from the actions of the principal, and

are legally attributed as the acts of the principal itself.8 Software Link’s sole gross negligence

caused Austin Sports Center’s injury.


6
  The Agreement contains a limited waiver of liability, drafted entirely by Software Link, which disclaims liability
for “claims arising from server down time, unavailability of services, loss of data, corruption of data, system errors,
internet errors, or inappropriate use of the hosting system, unless such damages are caused by the sole gross
negligence or malfeasance of Software Link.”
7
  Software Link’s amended disclosure identifies Brian Wilder as Software Link’s Senior Network Engineer, and
states: “Mr. Wilder also has knowledge regarding software provided by a third-party vendor that was responsible for
any alleged data loss and the use and malfunction of that software.” Regardless of where Software Link bought
supplies from, Software Link appears to acknowledge that the destruction of Austin Sports Center’s Data occurred at
Software Link. In any event, nothing in the Agreement authorized Software Link to delegate any of the contractual
duties it failed to perform, including the “7/24” monitoring and “Multiple daily backups to insure data is secure,” or
the separate backup that Software Link represented it would keep offsite or in its “disaster recovery site.”
8
 See, e.g., Thorne v. Allstate Texas Lloyd’s, 2012 WL 12941525 (W.D. Texas Nov. 27, 2012) (Yeakel, J.) (citing
with approval “that actions of agent are ‘indistinguishable’ from actions of principal,” and adding, “the agent’s

                                                          14
           Case 1:17-cv-00756-LY Document 47 Filed 08/21/18 Page 15 of 32



         ANSWER:           Summit Hosting admits that it was not responsible for ASC’s data loss.

Summit Hosting further admits that software sold to it by a third-party vendor was responsible

for ASC’s data loss. Answering further, Summit Hosting states that its disclosures speak for

themselves. No further response is required to the remaining allegations in paragraph 26 of the

FAC, including footnotes 7 and 8, which consist merely of conclusions of law, lawyer argument,

and purported citations to and quotes from case law. To the extent any further response is

required, Summit Hosting denies the remaining allegations of paragraph 26 of the FAC.


         27.      More importantly, Software Link’s argument that it can be held liable only if it

was the “sole” grossly negligent party is void as against public policy, as is any contractual

limitation on its liability for intentional torts: it cannot prospectively limit its liability for gross

negligence, whether sole or joint.9 Similarly, the Agreement does not contain the statutorily-

required bold typeface language for a valid waiver of potential liability under the Texas

Deceptive Trade Practices Act (“DTPA”). Therefore, any such attempt by Software Link to

contractually limit its DTPA liability is likewise void as a matter of law.10



actions are ‘indistinguishable’ from the principal for the purpose of attributing liability to the principal by
respondeat superior”); Centro Cristiano Cosecha Final, Inc. v. Ohio Cas. Ins. Co., 2011 WL 240335 *14 (S.D. Tex.
Jan. 20, 2011) (“These actions can be accomplished by Ohio through an agent, and as such, are indistinguishable
from Ohio’s actions.”); Kris William Builders, Inc. v. Tranquility Lakes Owners Ass’n., Inc., 2015 WL 5770019 *5
(Tex. App. – Houston [1st Dist.] Sept. 29, 2015) (“‘The acts of a corporate agent on behalf of his or her principal are
ordinarily deemed to be the corporation’s acts.’”).
9
  Zachry Const. Corp. v. Port of Houston Auth. of Harris County, 449 S.W.3d 98, 116 (Tex. 2014) (Hecht, C.J.)
(“We have indicated that pre-injury waivers of future liability for gross negligence are void as against public policy.
Generally, a contractual provision ‘exempting a party from tort liability for harm caused intentionally or recklessly
is unenforceable on grounds of public policy.’ We think the same may be said of contract liability. To conclude
otherwise would incentivize wrongful conduct and damage contractual relations. This conclusion is supported by
lower court decisions in Texas and court decisions in at least 28 American jurisdictions. We join this overwhelming
consensus.”) (footnotes omitted).
10
   Tex. Bus. & Comm. Code § 17.42(a) (“Any waiver by a consumer of the provisions of this subchapter is contrary
to public policy and is unenforceable and void” unless it meets the requisites in that provision, including the specific
bold typeface language stated in Section 17.42, which must include explicit reference to the DTPA). In addition,
Austin Sports Center was not represented by legal counsel in seeking Software Link’s services, and therefore any
attempt to waive the DTPA is again statutorily barred by Section 17.42(a)(3).

                                                          15
         Case 1:17-cv-00756-LY Document 47 Filed 08/21/18 Page 16 of 32



       ANSWER:         Summit Hosting admits that it is not liable for any ASC data loss. No

response is required to the remaining allegations of paragraph 27 of the FAC, or to footnotes 9

and 10 of the FAC, which consist merely of lawyer argument, legal conclusions, and purported

quotations from case law and statutes. To the extent any further response is required, Summit

Hosting denies the allegations in paragraph 27 of the FAC.


       28.     Just as importantly, Software Link’s argument that it could have used a

subcontractor to perform its duties is expressly barred in the Agreement itself. The Agreement

bars Software Link from giving any third parties access to the Data without Austin Sports

Center’s “prior written consent.” Leaving aside the public policy and statutory prohibitions

against limitations on liability for gross negligence, DTPA violations, or intentional torts,

Software Link could not attempt to insulate itself from liability by delegating its duties to a third

party in the manner it suggested at the November 21, 2017 hearing: the Agreement itself barred

it from doing so.     In addition to the provisions stating that “Software Link will assume

responsibility” and perform the work itself, the Agreement provides:

       “Software Link acknowledges that Data is confidential and/or proprietary to
       Client [Austin Sports Center] and agrees not to disclose to any third party any
       Data without Client’s prior written consent.        Software Link shall use
       commercially reasonable efforts to protect and safeguard Client’s Data, such
       efforts no less than what Software Link uses to safeguard its own confidential
       information.

       Software Link will limit access to the applicable operating system to authorized
       individuals with user passwords assigned to Client, and authorized Software Link
       agents and personnel and will implement reasonable security measures that meet
       or exceed industry standards and are designed to prevent unauthorized persons
       from accessing the Software Link facilities, client Data or the system.”

       ANSWER:         Summit Hosting admits that it is not liable for any ASC data loss.

Answering further, Summit Hosting states that the Agreement speaks for itself. No response is

required to the remaining allegations of paragraph 28 of the FAC, which consist merely of

                                                 16
           Case 1:17-cv-00756-LY Document 47 Filed 08/21/18 Page 17 of 32



lawyer argument, legal conclusions, and purported quotations from Agreement. To the extent

any further response is required, Summit Hosting denies the allegations in paragraph 28 of the

FAC.


         29.      In short, Software Link’s argument at the hearing before this Court, regarding an

unnamed subcontractor’s responsibility for the loss, is contradicted by the express terms of the

Agreement. The Agreement does not provide for any delegation to third parties for Software

Link’s “responsibility” to perform the contractual services, its “7/24” server monitoring, the

additional backup copies that Software Link represented it would maintain on several backup

servers, or the other services and safeguards that Software Link represented orally and in the

Agreement. To the contrary, one of Software Link’s contractual promises was that it would treat

the Data as “confidential” and would not allow third-party access to it absent “prior written

consent.”11 No such prior written consent from Austin Sports Center was sought or obtained by

Software Link.

         ANSWER:           Summit Hosting admits that it is not liable for any ASC data loss.

Answering further, Summit Hosting states that the Agreement speaks for itself. No response is

required to the remaining allegations of paragraph 29 of the FAC, or to footnote 11 of the FAC,

which consist merely of lawyer argument, legal conclusions, and purported quotations from




11
   Leaving aside the public policy prohibition against any attempt to limit liability for Software Link’s gross
negligence, the reasonable interpretation of “sole gross negligence” in light of the provisions barring Software Link
from giving access to the Data is that it refers to gross negligence as between Software Link and/or Austin Sports
Center, not the gross negligence of a third party (since the Agreement on its face anticipates that no third party
would be given access to the Data, and since all of the contractual duties described in the Agreement were Software
Link’s to perform without reference to any right to delegate same). Software Link’s argument that the phrase can
include supposed negligence by inanimate software or companies from which it bought its supplies is nonsensical.
In any event, the phrase should be construed against the drafter, Software Link. Similarly, on the face of the
Agreement the reference to “malfeasance” is not limited to Software Link’s “sole” malfeasance, and in any event,
Software Link is barred by public policy from limiting its prospective liability for such conduct.

                                                         17
         Case 1:17-cv-00756-LY Document 47 Filed 08/21/18 Page 18 of 32



Agreement. To the extent any further response is required, Summit Hosting denies the

allegations in paragraph 29 of the FAC.


       30.     Impact of the destruction of Data on Austin Sports Center. The data that Austin

Sports Center has attempted to recreate has only been partially successful, and only through great

difficulty and through reasonable and necessary expenditure of time and expense.                 Since

receiving the devastating news from Wilder that Software Link had lost all of its Data, and that

Software Link would do nothing further to assist Austin Sports Center with the Data loss, Austin

Sports Center staff and management have worked over 12,812 hours to recreate the data (through

November 2017). Austin Sports Center has also suffered damages by having to hire additional

temporary staff for the sole purpose of recreating data. Through Software Link’s actions, Austin

Sports Center has lost years of accounting and other data. All such damages were proximately

caused by Software Link’s breaches of contract, tortious conduct, and statutory violations.

       ANSWER:         Summit Hosting denies that it did not attempt to restore ASC’s data or that

it did not attempt to assist ASC to recover its data. Summit Hosting is without information

sufficient to form a belief as to the truth or falsity of the remaining allegations in paragraph 30 of

the FAC, and on that basis denies them.


       31.     Further, Austin Sports Center has had to forego business opportunities that it had

planned to pursue because, without access to over three years of data, it could not obtain the

proper financing from banks to do so.         The detrimental impact on Austin Sports Center’s

financing and other business operations was a foreseeable consequence of Software Link’s

misconduct and its loss of three years of data.

       ANSWER:         Summit Hosting is without information sufficient to form a belief as to the

truth or falsity of the allegations in paragraph 31 of the FAC, and on that basis denies them.

                                                  18
           Case 1:17-cv-00756-LY Document 47 Filed 08/21/18 Page 19 of 32



                                           V.    Causes of Action

A.        Count I: Breach of Contract.12

          32.    Plaintiffs incorporate by reference the preceding paragraphs of this complaint

herein.

          ANSWER:         Summit Hosting incorporates by reference its responses to the FAC in

each of the preceding paragraphs. With respect to footnote 12 of the FAC, Summit Hosting

admits that given the terms of the Agreement, ASC must meet Rule 9(b)’s pleading requirements

to allege gross negligence. No response is required to the remaining allegations in footnote 12 of

the FAC, which consist merely of conclusions of law, lawyer argument, and purported citations

to and quotes from case law. To the extent any further response is required, Summit Hosting

denies the allegations in footnote 12 of the FAC.


          33.    Software Link entered into a contract with Austin Sports Center to house and

safeguard “all data and information relating to the business” of Austin Sports Center, including

its QuickBooks data, and agreed that it was responsible for performing, managing, and verifying

the backup and restore process for Austin Sports Center’s data. Software Link contractually

agreed that it would “protect and safeguard” Austin Sports Center’s Data, and undertook a


12
  At the hearing on November 21, 2017, Software Link argued that breach of contract actions which allege gross
negligence as a component of the breach must satisfy Fed. R. Civ. P. 9(b) pleading standards. The Court asked the
parties to report back on their positions on that argument.

   Software Link’s argument at the November 21, 2017 hearing is incorrect. See, e.g., FDIC v. Williams, 779 F.
Supp. 63, 64 (N.D. Tex. 1991) (declining to apply 9(b) to allegations of gross negligence); Bayerische Landesbank
v. Aladdin Capital Mgmt. LLC, 692 F.3d 42, 64 (2d Cir. 2012) (same). Indeed, as stated in Santander Consumer
USA, Inc. v. Homer Skelton Enterprises, Inc., 2017 WL 2558804, at *3 (N.D. Tex. June 13, 2017), “A careful
review of Fifth Circuit law indicates that applying 9(b) to a breach of contract claim is inappropriate.” See also
International Bancshares Corporation v. Bancinsure, Inc., No. SA-12-CA-686, 2012 WL 12864343, at *2 (W.D.
Tex. Aug. 30, 2012) (“Rule 9(b) does not apply to breach of contract cases, even if the contract provides for
coverage of fraudulent acts.”).

  Austin Sports Center nevertheless has undertaken in this amended complaint (as it did in its original petition) to
plead all of the circumstances giving rise to each its causes of action with particularity, satisfying Rule 9(b).

                                                        19
         Case 1:17-cv-00756-LY Document 47 Filed 08/21/18 Page 20 of 32



heightened duty that its efforts in that regard would be “no less than what Software Link uses to

safeguard its own confidential information.” It agreed that “Software Link will assume

responsibility for performing, managing, and verifying of the backup and restore processes for

the Data.” It agreed that “A back-up tape or electronic copy of Data will be maintained offsite or

in Software Link’s disaster recovery site as determined by Software Link,” and during

negotiations represented to Austin Sports Center that it would keep 30 days of such backups. It

agreed that “If Data is lost from either system outage or application error, Software Link will

recover the production database to a specific point in time, based on the most recent available

backup,” and that “Software Link will restore data from back-up tapes as requested by Client.” It

agreed that its “Services Included ... Multiple daily backups to insure data is secure,” “7/24

access” by Austin Sports Center to its applications, and “7/24 Server Monitoring.”

       ANSWER:         Summit Hosting states that the Agreement speaks for itself. Summit

Hosting denies the remaining allegations in paragraph 33 of the FAC.


       34.     Software Link breached these obligations under the Agreement, and in doing so,

permanently lost Austin Sports Center’s Data.        Software Link breached the Agreement in

virtually all of its aspects: Software Link failed to “insure” that Austin Sports Center’s Data was

“secure,” it failed to maintain 30 days of backups on multiple servers as represented to Austin

Sports Center, it failed to “recover the production database to a specific point in time,” it failed

to “restore data from back-up tapes,” and it failed to provide “7/24 access” to applications.

Software Link also failed to perform around-the-clock “7/24 Server Monitoring” and “verifying

of the backup and restore processes for the Data” (it admitted that it only did spot checks, and

that the Data had been corrupted for 13 days before Software Link even noticed that fact).




                                                20
         Case 1:17-cv-00756-LY Document 47 Filed 08/21/18 Page 21 of 32



       ANSWER:         Summit Hosting states that the Agreement speaks for itself. Summit

Hosting denies that it breached the Agreement. Summit Hosting denies the remaining allegations

in paragraph 34 of the FAC.


       35.     The conduct described above, and Software Link’s resulting loss of the all Data,

constitutes gross negligence (and also sole gross negligence by Software Link), for which

Software Link is contractually liable, in that its acts and omissions objectively involved an

extreme degree of risk considering the probability and magnitude of the potential harm to Austin

Sports Center, and Software Link had actual subjective awareness of the risk involved but acted

in conscious indifference to the rights, safety, or welfare of Austin Sports Center. Software Link

made the multiple oral and written representations in the Agreement regarding the levels of

protection it would provide, evidencing its knowledge that such steps are necessary to avoid the

risk of lost data.   Software Link made representations regarding its “7/24” monitoring, its

multiple different servers as a backup to the primary server, its multiple daily backups, its 30

days of backup retention, that its efforts would be “no less than what Software Link uses to

safeguard its own confidential information,” its “verifying of the backup and restore processes

for the Data,” and its ability to “recover the production database,” and multiple other safeguards,

because Software Link knew those high levels of monitoring and protection are essential in order

to fulfill its contractual promise to “insure data is secure,” and without those levels of monitoring

and security that there is an extreme degree of risk that data will be lost. Software Link knew

that consumers like Austin Sports Center require those extraordinary levels of protection and

warranties as a condition to entrusting their Data. The fact that Software Link did not keep the

30 days of backups that it represented it kept, and that it did not even determine that the Data was

lost for 13 days (in contrast to its representations that it provided around-the-clock monitoring


                                                 21
         Case 1:17-cv-00756-LY Document 47 Filed 08/21/18 Page 22 of 32



and that it verified its multiple daily backups), by themselves evidence its conscious indifference

in the face of the extreme risk. In light of Software Link’s claim that it kept 15 days of backups,

its failure to act promptly on September 30, 2017 to preserve what should have been two days of

uncorrupted Data further evidences its conscious indifference.

       ANSWER:         Summit Hosting states that the Agreement speaks for itself. Summit

Hosting denies the remaining allegations in paragraph 35 of the FAC.


       36.     As Software Link’s own Senior Network Engineer wrote on October 14, 2016, the

consequence of Software Link’s derelict acts and omissions was a catastrophic loss of Austin

Sports Center’s Data: “It look[s] like I am not going to be able to recover any files or data.”

Software Link’s breach of the terms of the Agreement has proximately caused all of the damages

recited above that have been suffered by Austin Sports Center, for which Austin Sports Center is

entitled to recovery against Software Link.

       ANSWER:         Summit Hosting admits that it was not able to recover ASC’s data.

Summit Hosting denies that it breached the terms of the Agreement or that it has proximately

caused ASC actionable or recoverable damages. Summit Hosting is without information

sufficient to form a belief as to the truth of falsity of the remaining allegations in paragraph 36 of

the FAC, and on that basis denies them.


       37.     The facts stated above also establish that Software Link breached the Agreement

through the commission of reckless mistakes, which resulted in the destruction of Austin Sports

Center’s Data. As stated above, the Agreement’s limited waiver of liability was drafted entirely

by Software Link. It contains an exception which makes Software Link liable for server down

time, unavailability of services, loss of data, corruption of data, system errors, internet errors, or

inappropriate use of the hosting system, arising out of the “malfeasance” of Software Link.

                                                 22
           Case 1:17-cv-00756-LY Document 47 Filed 08/21/18 Page 23 of 32



“Malfeasance,” which Software Link chose to use when it drafted that clause of the Agreement,

includes “reckless mistake,” acts of “misrepresentation or deception,” and other wrongful acts,

and therefore are actionable against Software Link under the Agreement.13 Software Link’s

malfeasance (and consequent breach of the terms of the Agreement) has proximately caused all

of the damages recited above that have been suffered by Austin Sports Center, for which Austin

Sports Center is entitled to recovery against Software Link.

         ANSWER:           Summit Hosting states that the Agreement speaks for itself. Summit

Hosting denies the remaining allegations in paragraph 37 of the FAC. No response is required to

footnote 13 of the FAC, which consists merely of conclusions of law, legal argument, and

purported citations to and quotations from case law. To the extent any further response is

required, Summit Hosting denies the allegations in footnote 13 of the FAC.


         38.      For the same reason, the allegations stated below relating to violations of the

DTPA constitute malfeasance as well. In addition to the violations giving rise to a separate

cause of action against Software Link under the DTPA, those DTPA violations are also

actionable against Software Link under the terms of the Agreement as malfeasance. Software

Link’s DTPA violations (and consequent breach of the terms of the Agreement) is a proximate

and producing cause of all of the economic damages recited above that have been suffered by




13
   As cited above, the limitation of liability in the Agreement does not bar claims for gross negligence (sole or
otherwise), DTPA violations, or intentional torts including fraud. In any event, fraud, DTPA violations, and other
wrongful acts are species of “malfeasance” which is expressly carved out of the limitation of liability clause. In the
event that “malfeasance” is determined to be ambiguous, that phrase must be construed against the drafter of the
Agreement and that clause, Software Link. See Peeler v. Hughes & Luce, 909 S.W.2d 494, 498 (Tex. 1995) (“A
plaintiff suing under the DTPA must prove that the defendant’s malfeasance was the producing cause of his
damages.”); Industrias Magromer Cueros y Pieles S.A. v. La. Bayou Furs Inc., 293 F.3d 912, 920, op. clarified on
other grounds, 310 F.3d 786 (5th Cir. 2002) (per curiam) (Black’s Law Dictionary defines malfeasance as a
“‘wrongful or unlawful act’”). Compare Suggs v. Nationwide Ins. Co., 2007 WL 3010524 *3 (E.D. Pa. Oct. 16,
2007) (Malfeasance is such affirmative conduct “as an act of misrepresentation or deception, or a reckless mistake
made”).

                                                         23
           Case 1:17-cv-00756-LY Document 47 Filed 08/21/18 Page 24 of 32



Austin Sports Center, for which Austin Sports Center is entitled to recovery against Software

Link.

          ANSWER:         No response is required to the allegations in paragraph 38 of the FAC,

which consist merely of conclusions of law and lawyer argument. To the extent any further

response is required, Summit Hosting denies the allegations in paragraph 38 of the FAC.


B.        Count II: Fraudulent Inducement.14

          39.    Plaintiffs incorporate by reference the preceding paragraphs of this complaint

herein.

          ANSWER:         No response is required to the allegations in paragraph 39 or footnote 14

of the FAC in light of the Court’s dismissal of ASC’s fraudulent inducement claim. To the extent

any further response is required, Summit Hosting incorporates by reference its responses to the

FAC in the preceding paragraphs.


          40.    The facts stated above constitute fraudulent and reckless misrepresentation by

Software Link to induce Austin Sports Center to enter into the Agreement. Software Link falsely

represented to Austin Sports Center that it would perform the services described above, including

that it was providing “7/24 Server Monitoring,” that it had multiple servers backing up “multiple

daily backups,” that it verified those multiple daily backups on the multiple servers and verified

its restore processes, that it kept 30 days of those multiple backups, and that its efforts would be

“no less than what Software Link uses to safeguard its own confidential information.”




14
   Id. “Malfeasance” under the Agreement also encompasses fraud. See also AHF-Arbors at Huntsville I, LLC v.
Walker County Appraisal Dist., 410 S.W.3d 831 (Tex. 2012) (in context of piercing the corporate veil, referring to
“circumstances of fraud or other malfeasance”); First State Bank of Miami v. Fatheree, 847 S.W.2d 391, 395 (Tex.
App. – Amarillo 1993, writ denied) (noting that although “fraud cannot or should not be precisely defined, the books
contain many definitions such as: ... malfeasance”).

                                                        24
           Case 1:17-cv-00756-LY Document 47 Filed 08/21/18 Page 25 of 32



         ANSWER:           No response is required to the allegations in paragraph 40 of the FAC in

light of the Court’s dismissal of ASC’s fraudulent inducement claim. To the extent any further

response is required, Summit Hosting denies the allegations in paragraph 40 of the FAC.


         41.      Software Link subsequently admitted that it kept only 15 days of backups, instead

of 30 days. It did not verify all of the backups it performed, and instead admitted it only did spot

checks. It did not provide around-the-clock monitoring or verification, and instead let 13 days

elapse before it even noticed that all of Austin Sports Center’s Data was corrupted. Software

Link’s utter failures to perform the levels of safeguards, monitoring, and performance that it

represented to Austin Sports Center evidence its lack of good faith and intent to perform the

services as represented, and to maintain the levels of protection that were promised.15 In the

alternative, those facts show that Software Link acted with reckless disregard for the truth or

falsity of the representations it made to Austin Sports Center.

         ANSWER:           No response is required to the allegations in paragraph 41 or footnote 15

of the FAC in light of the Court’s dismissal of ASC’s fraudulent inducement claim. To the extent

any further response is required, Summit Hosting denies the allegations in paragraph 41 and

footnote 15 of the FAC.




15
   See, e.g., Arete Partners, L.P. v. Gunnerman, 594 F.3d 390, 394-95 (5th Cir. 2010) (noting that “a party’s intent
may be inferred by the party’s subsequent acts following the representation,” adding that a failure to perform is a
“circumstance to be considered with other facts to establish intent.” “Even ‘slight circumstantial evidence of fraud,
when considered with the breach of promise to perform, is sufficient to support a finding of fraudulent intent.’”);
Elliott v. Whitten, 2004 WL 2115420 *7 (Tex. App. – Houston [1st Dist.] Sept. 23, 2004, pet. denied) (“Because
intent to defraud cannot normally be shown by direct proof, that intent must usually be proved by circumstantial
evidence. Such circumstantial evidence may include the party’s subsequent acts, even though the party’s relevant
intent is his intent at the time that he made the misrepresentation. For example, although the mere failure to perform
a contract, standing alone, is not evidence of fraud, the subsequent failure to perform ‘is a circumstance to be
considered with other facts to establish intent .’ ‘Slight circumstantial evidence’ of fraud, when considered with the
breach of promise to perform, is sufficient to support a finding of fraudulent intent.’ Similarly, a party’s denial that
he ever made the promise may be a factor showing no intent to perform when he made the promise.”) (citations
omitted).

                                                          25
           Case 1:17-cv-00756-LY Document 47 Filed 08/21/18 Page 26 of 32



          42.   Software Link made these false representations because it knew that Austin

Sports Center required the backup server and those levels of safeguards in order to entrust

Software Link with its extremely valuable financial data. Austin Sports Center reasonably relied

on Software Link’s false representations to its detriment, including by entrusting its Data to

Software Link to manage and secure, and would not have entered into the Agreement but for

Software Link’s false representations.

          ANSWER:      No response is required to the allegations in paragraph 42 of the FAC in

light of the Court’s dismissal of ASC’s fraudulent inducement claim. To the extent any further

response is required, Summit Hosting denies the allegations in paragraph 42 of the FAC.


          43.   Software Link’s fraudulent and reckless misrepresentations proximately caused

all of the damages recited above that have been suffered by Austin Sports Center, for which

Austin Sports Center is entitled to recovery against Software Link.       Austin Sports Center

therefore is entitled to recover its actual damages and exemplary damages from Software Link.

          ANSWER:      No response is required to the allegations in paragraph 43 of the FAC in

light of the Court’s dismissal of ASC’s fraudulent inducement claim. To the extent any further

response is required, Summit Hosting denies the allegations in paragraph 43 of the FAC.


C.        Count III: Violation of the Texas Deceptive Trade Practices Act (“DTPA”).

          44.   Plaintiffs incorporate by reference the preceding paragraphs of this complaint

herein.

          ANSWER:      Summit Hosting incorporates by reference its responses to the FAC in the

proceeding paragraphs herein.




                                               26
         Case 1:17-cv-00756-LY Document 47 Filed 08/21/18 Page 27 of 32



       45.     Austin Sports Center is a consumer within the meaning of Tex. Bus. & Comm.

Code § 17.45(4). Austin Sports Center purchased the services of Software Link to house,

safeguard, and manage its financial Data, as well as to provide Austin Sports Center with an

independent backup of Austin Sports Center’s Data and to manage and verify the security of

Austin Sports Center’s Data on that system.

       ANSWER:         Summit Hosting is without sufficient information to form a belief as to the

truth or falsity of the allegations in paragraph 45 of the FAC, and on that basis denies them.


       46.     The facts stated above establish that Software Link made representations

regarding the characteristics, uses, benefits, and qualities of Software Link’s services, which they

did not have, represented that the Agreement had remedies which it did not have and rights by

Software Link which are prohibited by law, and failed to disclose information concerning its

services which were known by Software Link at the time it entered into the Agreement which

was intended to induce Austin Sports Center into the transaction, and in which Austin Sports

Center would not have entered had such information been disclosed, all in violation of Tex. Bus.

& Comm. Code §§ 17.46(b)(5), (7), (12), (24), and 17.50(a)(1).             Among other material

misrepresentations, Software Link represented to Austin Sports Center that it backed its Data

onto multiple backup servers, that it performed multiple daily backups which would “insure data

is secure” even in the event that the primary server failed, that it would assume responsibility for

“performing, managing, and verifying of the backup and restore processes for the Data,” and that

it would provide “7/24 Server Monitoring,” and that Austin Sports Center would have “7/24

access.” It represented that it kept 30 days of backups, and that if Data were lost “Software Link

will recover the production database.”




                                                27
         Case 1:17-cv-00756-LY Document 47 Filed 08/21/18 Page 28 of 32



       ANSWER:         No response is required to the allegations in paragraph 46 of the FAC, to

the extent they consist of conclusions of law and lawyer argument. Additionally, no response is

required to the allegations in paragraph 46 of the FAC to the extent they rely on any alleged

knowingly false statements by Summit Hosting, in light of the Court’s dismissal of ASC’s DTPA

claims that rely on knowing falsity. To the extent any further response is required, Summit

Hosting states that the Agreement speaks for itself, and Summit Hosting denies any remaining

allegations in paragraph 46 of the FAC.


       47.     As detailed above, Software Link’s services did not comply with Sections

17.46(b)(5), (7), (12), and (24) of the DTPA. In contrast to the representation that Software Link

kept 30 days of backups, it admitted it kept only 15 days. In contrast to the representation that it

provided “7/24 Server Monitoring” and that it assumed responsibility for “verifying of the

backup and restore processes for the Data,” Software Link subsequently admitted that it did only

spot checks and that the Data was corrupted for 13 days before Software Link discovered the

loss. In contrast to its multiple representations that it performed multiple daily backups to

“insure data is secure,” it did not insure Austin Sports Center’s Data was secure, and instead

permanently lost that information. In contrast to its representations about maintaining a separate

backup of the Data “offsite or in Software Link’s disaster recovery site” from which it could

restore any lost Data, Software Link admitted it did not have such a backup system and could not

recover the Data, and that it did not verify any such backups to insure that they were not

corrupted and unusable. In contrast to Software Link’s representation that “will recover the

production database” in the event Data is lost, Software Link acknowledged that it permanently

lost Austin Sports Center’s Data and would not be “able to recover any files or data.”




                                                28
         Case 1:17-cv-00756-LY Document 47 Filed 08/21/18 Page 29 of 32



       ANSWER:        No response is required to the allegations in paragraph 47 of the FAC, to

the extent they consist of conclusions of law and lawyer argument. Additionally, no response is

required to the allegations in paragraph 47 of the FAC to the extent they rely on any alleged

knowingly false statements by Summit Hosting, in light of the Court’s dismissal of ASC’s DTPA

claims that rely on knowing falsity. To the extent any further response is required, Summit

Hosting states that the Agreement speaks for itself, and Summit Hosting denies any remaining

allegations in paragraph 47 of the FAC.


       48.     Austin Sports Center reasonably relied on Software Link’s false, misleading, and

deceptive acts and practices to its detriment, including by entrusting its data to Software Link to

manage and secure, and would not have entered into the Agreement but for Software Link’s

false, misleading, and deceptive acts and practices. Software Link’s false, misleading, and

deceptive acts and practices in connection with Software Link’s services is a producing cause of

Austin Sports Center’s economic damages. Austin Sports Center made written demand on

Software Link more than 60 days before filing suit in compliance with the requirements of Tex.

Bus. & Comm. Code § 17.505.

       ANSWER:        No response is required to the allegations in paragraph 48 of the FAC, to

the extent they consist of conclusions of law and lawyer argument. Additionally, no response is

required to the allegations in paragraph 48 of the FAC to the extent they rely on any alleged

knowingly false statements by Summit Hosting, in light of the Court’s dismissal of ASC’s DTPA

claims that rely on knowing falsity. To the extent any further response is required, Summit

Hosting states that the Agreement speaks for itself, and Summit Hosting denies any remaining

allegations in paragraph 48 of the FAC.




                                                29
           Case 1:17-cv-00756-LY Document 47 Filed 08/21/18 Page 30 of 32



          49.     Software Link is liable for its violations of Sections 17.46(b)(5), (7), (12), (24),

and 17.50(a)(1) even in the absence of any intent to misrepresent.16 The nature of Software

Link’s acts and omissions described above, however, show that its DTPA violations were

committed knowingly within the meaning of Tex. Bus. & Comm. Code § 17.50(b)(1), entitling

Austin Sports Center to recover three times the amount of its economic damages from Software

Link. For example, as set forth above, Software Link knew it did not have the 30 days of

backups that it stated it kept, that it did not have multiple servers that it monitored “7/24,” and

that it did not verify multiple daily backups on such servers. Austin Sports Center is entitled to

recover from Software Link its economic damages, treble damages, and attorney’s fees in

connection with Software Link’s violations of the DTPA.

          ANSWER:          No response is required to the allegations in paragraph 49 of the FAC, to

the extent they consist of conclusions of law, lawyer argument, and purported quotations and

citations to case law. Additionally, no response is required to the allegations in paragraph 49 of

the FAC to the extent they rely on any alleged knowingly false statements by Summit Hosting, in

light of the Court’s dismissal of ASC’s DTPA claims that rely on knowing falsity. To the extent

any further response is required, Summit Hosting states that the Agreement speaks for itself, and

Summit Hosting denies any remaining allegations in paragraph 49 of the FAC.


                                            VI. Attorneys’ Fees

          50.     Plaintiffs incorporate by reference the preceding paragraphs of this complaint

herein.

16
   Miller v. Keyser, 90 S.W.3d 712, 716 (Tex. 2002) (“A consumer is not required to prove intent to make a
misrepresentation to recover under the DTPA.”); Tex. Real Estate Comm’n v. Asgari, 402 S.W.3d 814, 819 (Tex.
App.–San Antonio 2013, no pet.) (same); Smith v. Herco, Inc., 900 S.W.2d 852, 859 (Tex. App.–Corpus Christi
1995, writ denied) (“Intent to misrepresent, or knowledge that a representation is untrue, has never been an element
of a DTPA ‘laundry list’ claim unless the specific provision requires intent.”); Coleman v. Dean, 2015 WL 5156921
*5 n. 6 (Tex. App. – San Antonio Sept. 2, 2015) (Section 17.46 “laundry list” violations do not require intent, except
in four subsections which explicitly reference intent as an element).

                                                         30
          Case 1:17-cv-00756-LY Document 47 Filed 08/21/18 Page 31 of 32



        ANSWER:          Summit Hosting incorporates by reference its responses to the FAC in the

preceding paragraphs herein.


        51.     Plaintiffs are entitled to recover their reasonable and necessary attorney’s fees and

costs of court incurred in bringing this action, including under Tex. Bus. & Com. Code §

17.50(d) and Tex. Civ. Prac. & Rem. Code § 38.001, et seq.

        ANSWER:          Summit Hosting denies the allegations in paragraph 51 of the FAC.


                                   VII. Conditions Precedent

        52.     All conditions precedent have been performed or have occurred, including all

conditions precedent to Plaintiffs’ rights to recover as set forth herein. Fed. R. Civ. P. 9(c).

        ANSWER:          Summit Hosting denies the allegations in paragraph 52 of the FAC.


                                         ASC’S PRAYER

        ANSWER:          No response is required to ASC’s Prayer, which consists merely of ASC’s

requested relief. To the extent any further response is required, Summit Hosting denies that ASC

is entitled to any relief.


                         SUMMIT HOSTING’S PRAYER FOR RELIEF

        WHEREFORE, premises considered, Summit Hosting respectfully requests that the

Court enter judgment as follows:

        1.      Dismiss ASC’s First Amended Complaint in its entirety, with prejudice;

        2.      Enter judgment in favor of Summit Hosting;

        3.      Award Summit Hosting its reasonable and necessary attorneys’ fees, costs of

court, and other costs incurred in bringing this action;



                                                 31
         Case 1:17-cv-00756-LY Document 47 Filed 08/21/18 Page 32 of 32



       4.     Award Summit Hosting such other and further relief, at law or in equity as

allowed by law as the Court deems just and proper.

                                           Respectfully submitted,

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                               CERTIFICATE OF SERVICE

I hereby certify that on this 21st day of August, 2018, I electronically filed the foregoing
document with the Clerk of the Court using the CM/ECF system, which sent notification of such
filing to all counsel of record.

                                           /s/ Elizabeth C. Brandon
                                           Elizabeth C. Brandon




                                              32
